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                     EXHIBIT 5
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                 Order Results
           Order 921828576
Order failed. Reason: EC404: Symbol
    MMTLP is non-OTC eligible.



                                       OK
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                 Order Results
           Order 921828586
Order failed. Reason: EC404: Symbol
    MMTLP is non-OTC eligible.



                                       OK
